                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF TENNESSEE                 RECEIVED
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                                                                 JAN ® 7 2099
   TO: Chief Judge Crenshaw
                                                            U.S. DIGTR.70T €:OLIRT
                                                                              JF TNT.
   From: Alto Parnell

   Dear Judge,

         With this letter is a copy of the letter that I've

   sent to appointed counsel Isaiah S. Cant. I'm asking the

   court to make it part of the record, so that if counsel

   does the opposite of what I've authorized him to do;

   the record will reflect and be ripe for me to submit a

   motion to dismiss counsel and for this court to grant it.

   Furthermore, I respectfully ask you to take judicial notice

   that I'm willing to proceed pro-se if counsel tries to

  exclude or remise any of my grounds, issues or arguments

   that are already on the record from my memorandum of law

  in support of my 52255 motion. Enclosed is a S.A.S.E.,

  for return of a stamped filed copy of these filed actions.

                                       RespectfKlly Submitted,
  Date: {
                                       Alto Parne,]l 20488075
                                       USP McCreary
                                       P.O. Box 3000
                                       Pine Knot, KY 42635




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                                 LETTER OF ROGATORY



          Mr. Gant,

                I've tried to call you at your office several times

          on the days you've suggested me to call with no avail;

          December 26th, 27th and 28th of 2018. Either I get no answer

          or the secretary tells me that your not available at the

          moment. It's my understanding that the amended petition

         shall be filed by January 14th, 2019. If it's better for

          you to correspond with me via email I can add your email

         address to corrlincs, but let me know soon as possible.

               I Alto Parnell, as principle instruct and appoint

         you, Isaiah S. Gant as my fiduciary trustee; in case

         # 3_18-cv- 00987. As petitioner, I've appointed Isaiah S.

_ _—    Gant_fiduc_i_ar-y t_o__ac.tio-r—the benefit of pet_ tioner on

         all matters within the scope of our legal relationship.

         Isaiah S. Gant owes to petitioner the duties of good faith,

         trust, due care, loyalty, disclosure and candor. I object

         to you disregarding or excluding ANY of the issues I've

         raised on the record. The judge ordered you to file an

         amended petition. Amend means to change for the better or

         improve. If you believe you can add arguments and your skill

         and knowledge to strengthen said issues; I'm willing to

         consider and review the such. If your not comfortable with

         representing me on the issues already on the record, I

         suggest you promptly let me know so that I may proceed pro-se.

                                     Page l.)


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   Included is a motion to add supplemental authority and

   the supplemental authority within, I respectfully ask you

   to file said motion timely. The supplemental authority

   is helpful to Ground 2 and Issue 5 of my memorandum in

  support of my 52255. In particular, United States v. Elder,

  900 F.3d 491 (7th Cir. 2018). It was argued May 22nd, 2018

  and decided August 15th, 2018 and it substantially corr-

  esponds to the arguments therein. I also need a copy of

  case docket #(s) 1487 and 1440 from the original crim. case

  #3:11-cr-00012. I need those two transcripts for my files

  and also to review. Thanks for your time and understanding

  of these pertinent actions.

                                            Respectful1 Submitted,

  DATE:   /- -,ZLJ1                    /s
                                            Alto Parnell 20488075
                                            USP McCreary
                                            P.O. Box 3000
                                            Pine Knot, KY 42635




                               Page 2.)


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                    Cel,,- WEP,2~e of'Se, r7"Tice.

                                             hereby certify that I have served a true and
   correct copy of the following:
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 which,is deemed filed at the time it was delivered to prison authorities for fora-arding
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and by depositing same in the ,United States Mail at the United State Penitentiary,
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<g20488-075<*
      Alto Parnell
      20488075
      Unit 6B PO Box 3000
      United Statespenitentlary
      PINE KNOT, KY 42635
      United States

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                                               Court Clerk
                                               Middle Dist, Of TN
                                                801 Broadway
                                               Room 800
                                                Nashville, TN 37203
                                                United States


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